Case 1:19-cv-01270-CM Document 2 | Filed 02/08/19 Page 1 of 8

 

 

SONY Se op
UNITED STATES DISTRICT
G “Plt 2:
SOUTHERN DISTRICT OF NEW y R

Amy N (chor! oo Koumir C& ‘Kodrig ULB

  

 

 

 

Write the full name of each plaintiff.
{include case number if one has been
assigned)
-against-
, | COMPLAINT
Tames German, Bric Grossman,
. , Do you want a jury trial?
“Peter Schutte: ,Allana (arn Ashtesn Yes [No

 

Jeffrey Boodsky Roberts Rooney.
Mor aan Stanless

Write the full name of each Cf if you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those

contained in Section i,

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

 

 

 

Rev. 2/9/17

 

 
Case 1:19-cv-01270-CM Document 2 Filed 02/08/19 Page 2 of 8

I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power}. Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federai-court jurisdiction in your case?
nA Federal Question |
L] Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?

Hd Use State S5868 ee
(6 BOC Bight +o Sue Enclosed)

 

 

~~ -B. -If you checked Diversity of Citizenship = ~~...
1. Citizenship of the parties

Of what State is each party a citizen?

The plaintiff , . , is a citizen of the State of
(Plaintiff's name)

 

(State in which the person resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

if more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

Page 2
Case 1:19-cv-01270-CM Document 2 Filed 02/08/19 Page 3 of 8

if the defendant is an individual:

The defendant, , is a citizen of the State of
(Defendant’s name)

 

 

or, ifnot lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

If the defendant is a corporation:

The defendant, , is incorporated under the laws of

 

the State of

 

and has its principal place of business in the State of

 

or is incorporated under the laws of (foreign state)

 

and has its principal place of business in

 

if more than one defendant Is named in the complaint, attach additional pages providing
information for each additional defendant.

Ii. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

 

 

 

 

 

 

Aimy \. Ramicee Kodviguets

First Name Middle Initial Last Name

A lo Colonel Robert Moos Prob. AUC.

Street Address

Neo Yorke dead York 10835

County, City State Zip Code

(oto) 2 ¥4-4U3 Kodriquez- A. Ramirez & gmou\: Cone
Telephone Number Email Address {if available)

Page 3
Case 1:19-cv-01270-CM Document2 Filed 02/08/19 Page 4 of 8

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1: Ne ONES G) Orman

First Name Last Name
Chiel Evecaactive, Officer
Nov Job Title (or other identifying information}

Modan Manley 18 BS Groadusont

Currefit Work Address (or other address where defendant may be served}

New Nort NewNork. alviome

 

County, City State Zip Code
Defendant 2: 6 ric. G rmssman
First Name Last Name

Chiee deoal Officer

Current Job Title (or Gther identifying information)

Moraan Stanley (58.5 Amodwou

CurrentWork Address (or oY address where defendant m 1602 served)

New York MewMork 10.4

 

County, City State Zip Code
7
Defendant 3: Pet ey S chuttz.
First Name Last Name

Eyecutive Director

Current Job Titie (or other identifying information)

Moracun Stan on XDES Westchester Ave. arts Le

Current Work Address {or other address where defendant may be served)

“FKurchase. New Nor & {8544

County, City State Zip Code
Defendants Allana Grinshte n Ey Fewest gator Special Env. Unik

Morgan Stanley Broadway, NY NV 4083\e
deFerdantie Rober+ Boney, an oF Technology

Morgan Staniey 4585 Broadway NV NY 1003

Page 4
Case 1:19-cv-01270-CM Document 2 Filed 02/08/19 Page 5 of 8

Defendant 4: Je FFreN Prods ic yf

First Name Last Name

Chiee Human Resources OFFicer

Current job Title (or other identifying information)

Moraan Stanley 4585 Amadway

Current Work Address (or bther address where defendant may be served)

New Nore Need ork {BOA

County, City State Zip Code

IH, STATEMENT OF CLAIM
Place(s) of occurrence: Nes or kK, NW and Paramus Ne:
aun .4 q;
Date(s) of occurrence: Dec. 4 B, Sep. “AR, ’ Jub AS —theushs aw ON 4 lo .
FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

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Page 5
Case 1:19-cv-01270-CM Document 2 Filed 02/08/19 Page 6 of 8

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If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

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State briefly what money damages or other relief you want the court to order.

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USand pertinent CRD cetord eXDENSE. Dod, oy Muorwan Shaul ley.
AFD Million USD in General Special, and tunrtive Damages.

2) Reinstatement without prejudice tv ernploymerit as a. Witt or

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Page 6
EEOC Form 181-8 (118) Case 1:19 BOR QYALEMPLOWMENTOPRORTUMH 0 SOMMIssIGNage 7 of 8
NOTICE OF RIGHT TO SUE (/SSUED ON REQUEST)

 

 

To: Amy V. Ramirez Rodriguez From: New York District Office
16 Colonel Robert Magaw Place 33 Whitehall Street
Apartment 24C 5th Floor
New, NY 10033 New York, NY 10004

On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601, 7a)

 

EEOC Charge No, EEOC Representative Telephone No,

Carlos Jacome,
§24-2018-01914 investigator {212) 336-3756

(See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:

Title Vil of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VI, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title Vil, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

f More fhan 180 days have passed since the filing of this charge.

Less than 180 days have passed since the filing of this charge, but | have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.

The EEOC is terminating its processing of this charge.

[| The EEOC will continue to process this charge,

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:

[| The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

[J The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought

in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

On behalf ofthe Commission

   

MOTE

we

2/ g/2014

Enclosures(s} Kevin J. Berry, (Date Mailed)
District Director

cc.

MORGAN STANLEY SMITH BARNEY
1585 Broadway
New York, NY 10036

 
Case 1:19-cv-01270-CM Document2 Filed 02/08/19 Page 8 of 8

V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

lagree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

Febuary D 2649 AO

  

 

 

Dated Plaintiff's Signature = &

Ain \- “Kamurez Pochrig Ute

First Nathe Middle Initial Last Name

4le Colonel Rovert Mcu0 00 Place. feocurtmertt AUG
Street Address

New Vor Nesolork: ___ {8623

 

  
 

 

County, City State Zip Code

(040443074432

Telephone Number

 

ress (if available)

we read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
Yes [INo

if you do consent to receive documents electronically, submit the completed form with your
complaint. if you do not consent, please do not attach the form.

Page 7

 
